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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION
UNITED STATES OF AMERICA, )
P]aintiff, §
§ CR. NO. 04-20304-Ml
STEFON HENDERSON, §
Det`endant. §

 

ORDER TO DISMISS

 

Upon motion of the United States, it is hereby ORDERED that counts 2,3 and 5 of the

above referenced indictment be dismissed

Entered this 2 q day ofMay, 2005 .
W)/) t

J N PH[PPS McCALLA
nited States District Judge

 

Approvcd:

z/z<’/W\

LEONARD E. LUCAS
Assistant United States Attorney

   

UNITED sTEATsDTISRIC COURT - WESERT DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
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Honorable .1 on McCalla
US DISTRICT COURT

